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1    Denise Mcloud,
     Brian Baran,
2
     Kristopher Anderson Francois,
 3   Mercedes Juanita Flores,
     Tim Rucker,
 4   Wilbert Ray Fields,
 5   John Clay
     Mailing Address: Santa Rosa General Delivery
 6   Mailing Address: 610 Wilson Street, Santa Rosa CA 95401
     Pro Se
 7
 8                            UNITED STATES DISTRICT COURT

 9                         NORTHERN DISTRICT OF CALIFORNIA

10               [Select one location: San Francisco I Oakland I San Jose I Eureka]

11                                          )
12   Denise Mcloud, Brian Baran, Kristopher)
     Anderson Francois, Mercedes Juanita)
13   Flores, Tim Rucker, Wilbert Ray Fields,�
     John Clay                              ) Emergency Application for Temporary
14                                            Restraining Order and Preliminary
15   vs.                                    � Injunction to Immediately Enjoin The
                                              County of Sonoma and its Co­
16                                          � Conspirators From Destroying the Joe
     COUNTY OF SONOMA, COUNTY               ) Rodota Trail on July 26th
17   ADMINISTRATOR SHERYL                   )
     BRATTON, SONOMA COUNTY                 )
18   REGIONAL PARKS, SONOMA
     COUNTY REGIONAL PARK
19   DIRECTOR BERT WHITAKER, CITY
20   OF SANTA ROSA, CITY OF SANTA
     ROSA MANAGER MARASKESHIA
21   SMITH. DOES 1-10
22   Defendant
23
24
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1                                        Table of Authorities
 2      1. Stuhlbarg Intl. Sales v. John D. Brush Co., 240 F.3d 832 (9th Cir. 2001)
 3
        2. Winter v. Natural Res. Defense Council, Inc., 555 U.S. 7, 20 (2008)
 4
        3. Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1134-35 (9th Cir. 2011)
 5
        4. Monterey Mech. Co. v. Wilson, 125 F.3d 702, 715 (9th Cir. 1997)
 6
        5. Nelson v. NASA, 530 F.3d 865, 882 (9th Cir. 2008)
 7
        6. Nat'l Aero. & Space Admin. v. Nelson, 56 U.S. 134 (2011)
 8
        7. Kennedy v. City of Ridgefield, 439 F.3d 1055, 1062 (9th Cir. 2006
 9
        8. Munger v. City of Glasgow, 227 F.3d 1082 (9th Cir. 2000)
10
        9. White v. Rochford, 592 F.2d 381 (7th Cir. 1989)
11
        10. Sylvia Landfield Tr. v. City of L.A., 729 F.3d 1189, 1195 (9th Cir. 2013)
12
        11. Martin v. City of Boise, 902 F. 3d 1031, 1048 (9th Cir. 2018).
13
        12. Collier v. Menzel, 221 CalRptr. 110 (Ct. App. 1985).
14
     Local Related Cases and Persuasive Authorities
15
        13. Sausalito/Marin County Chapter of the California Homeless Union et al vs City o
16
            Sausalito et al 21-cv-01143-EMC
17
        14. Marin County Homeless Union et al v. City ofNovato et al (4:21-cv-05401)
18
        15. Naretto et al v. City of Petaluma et al (3:21-cv-10027)
19
20
     Laws Defendants Are Usin To Criminalize Us While Livin On Public Land And
21
     Not Providing Us With Alternative Shelter
22
     Sonoma County Code §20-26
23
     California Penal Code §647(e)
24
     California Penal Code §602(m)
25
     California Penal Code §602(o)
26
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1                                                        Introduction
2
         1. We, the plaintiffs in the above case bring this motion for temporary restrainin
3
             order and preliminary injunction against all defendants to RESTRAIN them from:
4
                 a. Removing us from the Joe Rodota Trail until Defendants sit down and
5
                      reason with us on a workable solution that is acceptable to· both parties and
 6
                      abides by United States and California Constitution; and
7
                 b. Destroying property and displacing residents from our camp at the Jo
 8
                      Rodota Trail on July 26, 2022.
 9
         2. On July 22nd, without offers of shelter and without genuine offers of property
10
             storage, a squadron of Sonoma County Regional Park Rangers flooded our modest
11
12           encampment on the Joe Rodota trail threatening to arrest in on July 26th ifwe did

13           not move and posting us with notices [See Dec McCloud, Exhibit A] threatening
14
             us with a battery of criminal charges ifwe did not move even though they did not
15
             offer accessible shelter.
16
17       3. The Bay Area is currently in the midst of a surge of BA4 and BA5 variants of the

18           COVID 19 which according to water tests is the larges COVID surge yet 1 • While
19           deaths have significantly reduced thanks to provision of vaccines, many people are
20
             still reporting long COVID - a condition that the scientific community is still
21

22           learning about but which seems to cause permanent brain damage and

23           cardiovascular harm that is irreparable.
24

25

26
27

28
     1
       San Francisco Chronicle, "Bay Area wastewater surveys suggest COVID surge could be biggest yet". July 14 th 22.
     https ://www. sfchronicle.com/health/article/Wastewater-surveys-suggest-COVI 0-surge-cou Id-be- I 73 06240. php
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 1       4. For unhoused people many of whom have medical issues the danger of death and
 2
              irreparable injury from COVID 19 is significant. Last year, a resident died of
 3
              COVID 19 at the Sam Jones homeless shelter. 2
 4

 5       5. Because of the peril faced by unhoused people, the Center for Disease Control is

 6            offering authoritative guidance jurisdictions not to break up encampments of
 7
              unsheltered people due to COVID 19 to prevent dispersal of COVID 19 and
 8
              breakage of access to service providers and networks of support provided by
 9
10            encampment communities which are likely to cause irreparable harm or death

11            from COVID 19.         3


12
         6. In the context of a COVID surge and public health guidance, it is reckless for the
13
              County of Sonoma and its department Sonoma County Regional Parks to flout the
14
15            authoritative health guidance by evicting an encampment of around 40 people at

16            the Joe Rodota trail in Santa Rosa on July 26th without alternative shelter or
17
              apparent offers to store peoples belongings or to find other places they can
18
              survive.
19

20       7. Regional Parks rangers have been destroying people's property and have not been

21            offering alternative shelter. For this most recent sweep, in spite of rose-tinted press
22            releases, the Regional Parks and County of Sonoma are not offering shelter to the
23
              people they are displacing and planning on arresting who do not leave with
24

25
              misdemeanor charges even without offers of shelter. They know that they do not

26            have alternative shelter and have admitted so publicly at a Board of Supervisors
27

28   2
       Press Democrat, "Sam Jones Shelter Resident Dies of Covid 19 Complications" July 28 °1, 2021.
     https :/ /www. pressdemocrat. com/artic I e/news/sam-j ones-home Iess-shelter-resident-dies-of-covid- 19-compIications/
     3 Most Current Center for Disease Control COVID 19 Guidance on People Experiencing Unsheltered Homelessness

     - https://www.cdc.gov/coronavirus/2019-ncov/community/homeless-shelters/unsheltered-homelessness.html
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1            meeting. They do not have a genuine plan on storing people's property based on
2
             our past experiences in which Regional Park Rangers wantonly destroyed our
3
             tents, blanks, survival gear, food, water, and other essentials of living.
4
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        8.
19
        9. On Friday, July 22nd our encampment was ambushed when our encampment was
20

21           served eviction notices from the County of Sonoma's Office of Regional Parks to
22           vacate our encampment by July 26th at 8am. [See Exhibit A Deel. ofMcCloud].
23
        10. Defendants are not offering immediately accessible shelter. On their written
24
             notice they are threatening to cite and arrest us. This is a violation of our Fourth
25

26           and Eighth Amendment Rights under the Martin V Boise doctrine.

27      11. Defendants are not offering any genuine storage for our property which we cannot
28
             reasonably move all at once. They give no address for where our property will be

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 1          stored, or a way to contact defendants to retrieve our property. This violates the
 2
            doctrine under Lavan v City ofLos Angeles.
 3
        12. Furthermore, Defendants are not responding to requests for reasonable
 4

 5          accommodations in violation of Title II of the Americans with Disabilities Act and

 6          are 1gnonng us.
 7      13. Adding to the bad faith, plaintiffs are falsely representing to the public that we are
 8
            being provided with alternative shelter, adequate property storage, and other
 9
10          services.

11      14. On July 22nd, Sonoma County issued a press release stating they were clearing our
12
            community and providing alternative shelter.
13
        15. On July 22nd, the Press Democrat posted the following video on their youtube
14
15          channel show Sonoma County Rangers issuing eviction notices against campers to

16          leave by Tuesday.
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 1
 2

 3                                    Procedural Background
 4      16. The standards for a TRO are the same as those for a preliminary injunction. See
 5          Stuhlbarg Int'/ Sales Co., Inc. v. John D. Brush & Co., Inc., 240 F.3d 832, 839 n.
 6          (9th Cir. 2001). A plaintiff must demonstrate (1) a likelihood of success on th
 7          merits, (2) a likelihood of irreparable harm that will result if an injunction is no
 8          issued, (3) the balance of equities tips in favor of the plaintiff, and (4) an
 9          injunction is in the public interest. See Winter v. Natural Res. Defense Council,
10          Inc., 555 US. 7, 20 (2008). The Ninth Circuit has clarified that its "sliding scale"
11          approach to preliminary injunctive relief is still viable. That is, if the plaintiff ca
12          demonstrate the risk of irreparable injury, under the sliding scale test, the strengt
13          of the plaintiffs showing on the merits necessary to secure a preliminary
14          injunction varies with the degree to which the balance of hardship tips in its favor.
15          In other words, preliminary injunctive relief "'is appropriate when a plaintif
16          demonstrates . . . that serious questions going to the merits were raised and th
17          balance of hardships tips sharply in the plaintiffs favor."' Alliance for the
18          Rockies v. Cottrell, 632 F.3d 1127, 1134-35 (9th Cir. 2011).
19

20      I. Likelihood Of Success on The Merits Under Martin V Boise
21

22      17. We are likely to succeed under the merits of Martin v Boise, because inspite o
23          Defendants representations in the media - none of us have been offered alternativ
24          and accessible shelter [See Declarations Anderson ,rs Dec Rucker ,r12 Bria
25          Barnard i-13 Francois ,rs. Dec John Clay i-19 ,r10 Dec Michael Titone ,r4,r21. In
26          spite of the lack of accessible shelter, defendants are unlawfully threatening arres
27          [See Dec McCloud at Exhibit A].
28


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1       18. As is clear in Exhibit A, Defendants are threatening a litany of criminal charges t
2           vacate campers without any alternative shelter available in violation of Martin
3           Boise
4       19. Furthermore, the Northern District has recognized that Covid 19 Pandemic and th
5           Center for Disease Control Guidance creates dangers for unhoused people Se
6           Sausalito Homeless Union v City of Sausalito and Novato Homeless Union v Ci
 7          of Novato. When this court has lifted injunctions, it has only been afte
8           government agencies have done so in a manner where people receive placemen
9           and state created danger is mitigated See Narretto et al v City of Petaluma. This
10          court just last week issued a restraining order protecting 200 campers in Oakland
11          See Blain et al v Newsome et al.
12       We Are Likely To Succeed On the Merits of Lavan v City of Los Angeles becaus
13      Defendants Are Not Storing Peoples Property And Are In Fact Regular)
14      Destroying Our Property
15      20. Defendants and those acting m concert with them regularly destroy people
16          property. For example, they bulldozed Kristophers last camp and the camp befor
17          that [See Dec. Kristopher Francois ,I6 ,I14 Dec Rucker ,I12 Barnard ,I4 ,I7 Francois
18          ,I9 ,I14 Denise McCloud ,I7,I8 Dec. Mercedes ,I4 ,I5,I7 Dec Michael. Titone ,I20
19
20      We Are Likely To Succeed With Title II of Americans With Disabilities Ac
21      because Defendants Are Ignoring Requests for Accommodations
22      21. We are likely to succeed on the merits of the Americans with Disability
23          because defendants are willfully and wantonly ignoring the accommodatio
24          requests of plaintiffs and have been doing so for a very long time.
25      22. Michael Titone, a volunteer who helps plaintiffs notes that their requests fo
26          reasonable accommodations are constantly denied Dec Titone ,I6-19.
27      23. Tim Rucker asked for reasonable accommodations on May 10 id ,I3. It was
28          ignored, and he filed a grievance, which defendants did not satisfactorily resolv
            ,I4. Even though he has severe PTSD ,I14 and has knee problems that make hi1
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 1          need a walker ,r l 5. The Sam Jones shelter, which is not evidently available an
 2          where people have died from COVID 19 is not accessible for Mr. Rucker who ha
 3          tried it before ,r17.
 4      24. Brian Barnard submitted a request for reasonable accommodations for his cancer,
 5          PTSD, which has been ignored Dec Barnard ,r10.
 6      25. Francois has anxiety and PTSD and requested reasonable accommodations whic
 7          has not been responded to by the county Dec Francois ,r4 and has not been offere
 8          a placement.
 9      26. Denise McCloud also asked for reasonable accommodation and has been ignore
10          [Dec McCloud ,r1O].
11      27. Mercedes Juanita Flores has also asked for reasonable accommodations under th
12          ADA, and has been ignored. [Dec Flores ,r6 & Exhibit A].
13
14   State Created Danger Due Process Claim
15      28. The Ninth Circuit recognizes a substantive due process claim where there is a
16          "state-created danger" - i.e., where a state actor '"affirmatively place[s] an
17          individual in danger' by acting with 'deliberate indifference to [a] known o
18          obvious danger in subjecting the plaintiff to it."' Kennedy v. City of Ridgefield,
19          439 F.3d 1055, 1062 (9th Cir. 2006),· see also id. at 1061 (noting that state actio
20          affirmatively places a plaintiff in a position of danger "where state action creates
21          or exposes an individual to a danger which he or she would not have otherwis
22          faced).
23      29. But that is not the only situation where there is a state-created danger. In Kennedy
24          itself, the Ninth Circuit cited to cases where the state-created danger was,
25          effectively, from the environment. See id. at 1061 n. l (citing White v. Rochford,
26          592 F.2d 381 (7th Cir. 1989), where "defendants left helpless minor childre
27          subject to inclement weather and great physical danger without any apparen
28          justification "'); id. at 1062 (citing Munger v. City of Glasgow, 227 F.3d 1082 (9th
            Cir. 2000), which held that "police officers could be held liable for th
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 1          hypothermia death of a visibly drunk patron after ejecting him from a bar on
 2          bitterly cold night"). In this case during COVID-19 Pandemic, the cities threats o
 3          evicting me from my campsite also significantly increase our risk of bein
 4          irreparably harmed or killed by COVID-19 by making it impossible for me t
 5          comply with COVID -19 guidelines to shelter in place.
 6      30. Plaintiff Brian Bernard currently has cancer ,is and is stroke survivor ,is. H
 7          stayed at Sam Jones for six months and seriously tried it, it but it didn't work ou
 8
 9      31. When Ms. McCloud was last pushed out, a good friend of hers died when they
10          were forced to camp in an unsafe location. [See Dec McCloud i\6].
11
12      II. Irreparable Harm
13   Irreparable Harm
14      32. The Northern District has recognized that Covid 19 Pandemic and the Center fo
15          Disease Control Guidance creates dangers for unhoused people. See Sausalito
16          Homeless Union v City ofSausalito and Novato Homeless Union v City ofNovato.
17          When this court has lifted injunctions, it has only been after government agencie
18          have done so in a manner where people receive placement and state created dange
19          is mitigated See Narretto et al v City of Petaluma. This court just last week issued
20          a restraining order protecting 200 campers in Oakland See Blain et al v Newsome
21          et al.
22      33. The Center for Disease Control authoritative guidance in Exhibit A states that "I
23          individual housing options are not available, allow people who are livin
24          unsheltered or in encampments to remain where they are. Clearing encampments
25          can cause people to disperse throughout the community and break connections
26          with service providers. This increases the potential for infectious disease spread."
27      34. Catching COVID, even if immunized, presents both a high risk of death an
28          permanent brain injury.


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 1      35. Plaintiff Tim Rucker is especially likely to suffer irreparable harm or death by
 2          plaintiffs actions. He has just gotten out of surgery for [Dec Rucker ,r9]. Th
 3          duress that caused his medical emergency was caused by a camp eviction by
 4          defendants [id ,rI O]. Mr. Rucker has a knee injury that seriously handicaps him,
 5          and if he is forced to move it may cause his knee to be irreparably injured an
 6          increase his risk of ultimately losing the ability to walk. Furthermore, Mr. Rucke
 7          is recovering from a serious bacterial infection that required a 2.5 hour surgery.
 8          ,r10 He has to be on intravenous anti-bacterial medication for 6 weeks. ,r11. No
 9          of all times, defendants actions are likely to kill us. It is unclear if Defendants will
10          follow through on their promises of a bed at Los Guilicos. [Dec ,r1 l ]
11      36. Mr. Francois is likely to experience violence if the camp evaporates Dec Francois
12          ,r11.
13

14   Constitutional Violations are Irreparable Harm
15      37. The Ninth Circuit has held a violation of a person's constitutional rights may als
16          constitute irreparable injury see Monterey Mech. Co. v. Wilson, 125 F.3d 702, 715
17          (9th Cir. 1997) (noting that '" an alleged constitutional infringement will ofte
18          alone constitute irreparable harm'"); Nelson v. NASA, 530 F. 3d 865, 882 (9th Cir.
19          2008) (stating that, "[u]nlike monetary injuries, constitutional violations cannot b
20          adequately remedied through damages and therefore generally constitut
21          irreparable harm"), rev'd on other grounds, Nat 'l Aero. & Space Admin. v. Nelson,
22          56   us. 134 (2011).
23      38. Here there is a clear violation of eighth amendment rights under Martin v Bois
24          [See Declarations Anderson ,rs Dec Rucker ,r12 Brian Barnard ,r3 Francois ,rs.
25          Dec John Clay ,r9,r10 Dec McCloud ,r Dec Flores ,r4,rs,r9. In spite of the lack o
26          accessible shelter, defendants are unlawfully threatening arrest [See Dec McCloud
27          at Exhibit A] in violation of their Eighth Amendment Rights under Marti
28          doctrine.


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 1      39. Further, there are clear violations of 4th Amendment rights against unlawful search
2           and seizure that are occuring.
3
4    The Breaking Up of The Encampment Will Break Up Social Networks of Physica
5    Protection that Will Put Us At Risk of Being Victims of Crime, Assault, Rape, and
 6   Homicide.
7
8       40. The Ninth circuit recognizes state-created danger that arises from "private
 9          violence." Id. For example, in Kennedy v. City ofRidgefield, the plaintiff filed suit
10          against a city and a police officer after her neighbor's son - whom she had told the
11          police had molested her child - shot her and shot and killed her husband. See id. at
12          1058 (noting that, according to the plaintiff, the officer promised to give notice
13             "prior to any police contact with the Burns family about her allegations" but failed
14             to give advance notice; also, after belatedly telling the plaintiff about his contact
15             with the neighbor, the officer gave the assurance that the policy would patrol the
16             area around her house and the neighbor's house).
17      41. Many campers are afraid ofprivate violence in the community John Grey ,is .
18             Denise McCloud's good friend was killed after being swept Dec McCloud i]6. The
19             breaking up the encampment will break people from protecting one another [See
20             Barnard i] l 4] .
21
22      III.       Balance of Equities
23      42. The Destruction of our community is an issue of life and death for us. For the city,
24             it is a relatively minor inconvenience that that there are many solutions for.
25          Defendants have done everything to harass us but has never met with us to wor
26             on a real solution.
27      43. Defendants persistent ignoring of our needs strongly suggests the need for th
28             parties to be ordered into settlement so we can find a mutual solution that works
               for everyone.
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 2
 3      IV.Public Interest
 4      44. An injunction will serve the public interest by g1vmg assistance to homeless
 5          individuals, reducing my dependency on public benefits, and preserving my
 6          Fourth Amendment rights. Victor Valley Family Res. Ctr. v. City of Hesperia,
 7          2016 WL 3647340, at *7 (C.D. Cal. July 1, 2016); see also, Melendres v. Arpaio,
 8          695 F.3d 990, 1002 (9th Cir. 2012). 4:18-cv-01239-JSW
 9      45. Someone takes the trash out of the camp daily. We are responsible camp and w
10          do not unduly burden the city. Local businesses allow us to use their bathrooms
11          and we have a positive neighborhood.
12      46. Plaintiffs are not blocking the trail [See Declaration see Dec. Rucker ,rl7 Francois
13          ,r10.
14      47. "I have promised to protect Nina Butterfly and Neecy. We take care of each othe
15          in this area of the camp" ,r.Barnard 14.
16      48. Francois does store runs for the camp and keeps people provisioned with lifi
17          sustaining food and water ,r11.
18   Conclusion
19      49. Defendants are violating Ninth Circuit Precedent in Martin v Boise and Lavan
20          City of Los Angeles by respectively criminalizing us for being unhoused and no
21          providing alternative shelter and also not storing our belongings.
22      50. Defendants' reckless actions are likely to cause irreparable injury or death. It will
23          cause irreparable violation of our civil rights.
24      51. Defendants are ignoring and refusing to accommodate residents with disabilities
25          who are asking for reasonable accommodations.
26      52. The balance of equities tips sharply in our favor and the injunction is in the publi
27          interest.
28      53. Therefore, the court must grant for the TRO and order settlement discussions s
            that a reasonable solution can be found among the parties.
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 1   SEE ATTACHED EXHIBIT H-1 FOR SIGNATURE PAGE FOR MOTION FOR TRO
 2   AND PRELIMINARY INJUNCTION
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